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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                     CRIMINAL MINUTES

 Date:December 5, 2022          Time: 7:56 – 12:06             Judge: YVONNE GONZALEZ ROGERS
 Case No.: 21-cr-00429-         Case Name: UNITED STATES v. Ray J. Garcia
 YGR-1

Attorney for Plaintiff: Molly Priedeman, Andrew Paulson
Attorney for Defendant: James Reilly

  Deputy Clerk: Aris Garcia                          Reported by: Pamela Hebel



                                        PROCEEDINGS
Jury Trial, Day 6 – HELD

See attached.
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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-00429-YGR-1
Case Name: USAv. Garcia

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                        PLAINTIFF ATTORNEY:                  DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers        AUSA Molly Priedeman, AUSA           James Reilly
                               Andrew Paulson
 TRIAL DATE:                   REPORTER(S):                         CLERK:
 12/5/2022                     Pamela Hebel                         Aris Garcia

 PLF DEF DATE/TIME
 NO. NO. OFFERED              ID   REC   DESCRIPTION                                       BY
         7:56 a.m.                       Court is in session. Discussion with counsel
                                         outside the presence of the jury.
             8:11 a.m.                   Court is in recess
             8:34 a.m.                   Court is in session
             8:35 a.m.                   Cross of witness Garcia by Ms. Priedeman
                                         continues
             9:39 a.m.                   Re-direct of witness Garcia by Mr. Reilly
             10:00 a.m.                  Court is in recess
             10:22 a.m.                  Court is back in session
             10:22 a.m.                  Re-direct of witness Garcia by Mr. Reilly
                                         continues
             10:42 a.m.                  Witness Garcia is excused
             10:42 a.m.                  Government calls witness Michael Bettencourt
                                         for direct examination by Mr. Paulson
             10:57 a.m.                  Cross-Examination of witness Bettencourt by
                                         Mr. Reilly
             11:25 a.m.                  Witness Bettencourt is excused
             11:25 a.m.                  Government calls witness Steven Putnam for
                                         direct examination by Mr. Paulson
             11:43 a.m.                  Jury is in recess
             11:44 a.m.                  Discussion with Counsel outside the presence of
                                         the jury.
             11:45 a.m.                  Court is in recess
             12:00 p.m.                  Court is back in session
             12:03 p.m.                  Jury is admonished and released until Tuesday,
                                         December 6, 2022.
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  12:03 p.m.               Discussion with Counsel outside the presence of
                           the jury.
  12:06 p.m.               Court is adjourned until Tuesday, December 6,
                           2022, at 8:00 a.m.
